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                                                                                       United States District Court
                                                                                         Southern District of Texas

                                                                                            ENTERED
                        IN THE UNITED STATES DISTRICT COURT                               January 13, 2017
                                                                                         David J. Bradley, Clerk
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

UNITED STATES OF AMERICA                          §
                                                  §
                                                  §
                                                  §
VS.                                               §     CRIMINAL NO. H-15-614
                                                  §
                                                  §
                                                  §
FOLARIN H. ALABI, et al                           §

                                                ORDER

       Defendant Justice Daniel filed a motion for continuance, (Docket Entry No. 128). The

government and the codefendants are unopposed to the motion. The court finds that the interests of

justice are served by granting this continuance and that those interests outweigh the interests of the

public and the defendants in a speedy trial. The motion for continuance is GRANTED. The docket

control order is amended as follows:

       Motions are to be filed by:                     March 20, 2017
       Responses are to be filed by:                   April 3, 2017
       Pretrial conference is reset to:                April 10, 2017 at 8:45 a.m.
       Jury trial and selection are reset to:          April 17, 2017 at 9:00 a.m.


               SIGNED on January 13, 2017, at Houston, Texas.

                                                      ______________________________________
                                                               Lee H. Rosenthal
                                                         Chief United States District Judge
